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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
                                                                              Case No.:
        ANJOLI JAGODA,

                                             Plaintiff,

                                 -against-                                    COMPLAINT

        THE BOARD OF MANAGERS OF THE REGATTA
        CONDOMINIUM, RMR RESIDENTIAL REALTY, LLC,
        AMET “ALEX” VUCETOVIC, ANDREW J. MAGGIO,
        and NELSON CALDERON,

                                             Defendants.



           Plaintiff Anjoli Jagoda, by and through her undersigned counsel, Lachtman Cohen P.C.,

brings this action against the defendants and alleges as follows:

                                               INTRODUCTION

       “There is nothing more important than a good, safe, secure home.” – Rosalynn Carter

           1.      The Regatta Condominium in Mamaroneck is rife with misogyny.

           2.      For most people, a home is a place of privacy, refuge and security; a safe haven to

hideaway or escape life’s challenges. Unfortunately, for many women like Anjoli Jagoda, it is not,

as sexual harassment in housing is widespread.1 And because of the unique discrimination that is

faced at the intersection of sexism and racism, women of color like Ms. Jagoda are particularly

susceptible to harassment.2




1
  The U.S. Department of Housing and Urban Development (“HUD”) estimates that, in the United States, there are
over two million instances of housing discrimination each year. See Cityscape: A Journal of Policy Development and
Research, U.S. Department of Housing and Urban Development, Office of Policy Development and Research 37
(2015), https://www.huduser.gov/portal/periodicals/cityscpe/vol17num3/Cityscape_November_2015.pdf.
2
    See Kate Sablosky Elengold, Clustered Bias, 96 N.C. L. Rev. 457 (2018).
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           3.       In 2018, individuals made 1,956 complaints of sex-based discrimination in

housing.3 But these claims are a tiny fraction of the actual number because, most of the time,

instances of sexual harassment in housing are not reported as victims are reluctant to come forward

due to “fear of retaliation, silence as the chosen form of coping, aversion to the stigma attached to

victims of sexual harassment, anticipation of ridicule, and a desire not to prolong suffering.”4

           4.       It takes great courage to speak up, but often times, those who do, like Ms. Jagoda,

are not believed or even blamed for the harassment.5

           5.       In addition, experiencing sexual harassment and threats of violence in the home is

disturbing and devastating for the victim:

           [W]hen the harassment occurs in [one’s] home, it is a complete invasion in [their]
           life. Ideally, home is the haven from the troubles of the day. When home is not a
           safe place, [an individual] may feel distressed and, often, immobile.6

           6.       Finally, “[w]omen who are sexually harassed at work can retreat to their homes;

women sexually harassed at home have no secure retreat.”7

           7.       Thus, as HUD recognized, sexual harassment interferes with a person’s right to

access and enjoy housing.8




3
 See Defending Against Unprecedented Attacks on Housing: 2019 Fair Housing Trends Report, National Fair
Housing Alliance, at 16 (2019), https://nationalfairhousing.org/wp-content/uploads/2019/10/2019-Trends-Report.pdf.
4
 See Regina Cahan, Comment, Home Is No Haven: An Analysis of Sexual Harassment in Housing, 1987 Wis. L. Rev.
1061, 1067.
5
    See id. at 1068, 1074.
6
 Cahan, supra, at 1073. See also Quid Pro Quo and Hostile Environment Harassment and Liability for Discriminatory
Housing Practices Under the Fair Housing Act, 81 Fed. Reg. 63,054, 63,055 (Sept. 14, 2016) (As HUD has
recognized, “[o]ne’s home is a place of privacy, security, and refuge (or should be)” and, therefore, “harassment that
occurs in or around one’s home can be” uniquely “intrusive, violative, and threatening.”
7
 Deborah Dubroff, Sexual Harassment, Fair Housing, and Remedies: Expanding Statutory Remedies into a Common
Framework, 19 T. JEFFERSON L. REV. 215, 222 (1997) (emphasis added). See also Cahan, supra, at 1073 (people who
experience harassment at home cannot escape).
8
    24 C.F.R. § 100.600(a)(2).



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       8.      Against this backdrop, the Regatta Condominium (“Regatta” or “Condominium”)

is a condominium association of unit owners that was formed in 1998 pursuant to a Declaration of

Condominium filed and recorded, pursuant to N.Y. Real Property Law Article 9-B, in the Office

of the Westchester County Clerk. The Condominium is comprised of 114 residential units (13 of

which were initially sold as affordable housing), one commercial unit, and common elements, in

the building known as and located at 123 Mamaroneck Avenue in Mamaroneck (“Building”).

       9.      Overlooking the Mamaroneck River, the Regatta is across from Harbor Island Park,

playgrounds, picnic areas, sports fields, and a beach, and is steps away from shops, restaurants,

and entertainment in the heart of downtown Mamaroneck.

       10.     On December 20, 2018, Ms. Jagoda purchased an apartment unit in the Regatta and

was looking forward to enjoying this lifestyle. She loves nature and was excited about moving into

her new home with a view of the water from her balcony. But little did she know that, when she

arrived, she would be forced to navigate a hostile housing environment and subjected to sexual

harassment, bullying, intimidation, and retaliation.

       11.     Ms. Jagoda is a 34-year old woman of Sri Lankan descent. She is 5’1” and petite,

single, and lives alone.

       12.     As soon as Ms. Jagoda moved in, she became the object of longtime Regatta

Building Supervisor Amet “Alex” Vucetovic’s unwelcome and inappropriate touching, advances,

questions about her sex life, and attempts to turn Building-related discussions to sexual topics.

       13.     Vucetovic’s reputation for preying on women and engaging in coercive and

intimidating behavior is common knowledge and well-documented, as several women in the

Building have reported Vucetovic’s misconduct, all to no avail. In fact, shortly after Ms. Jagoda

purchased her unit, her neighbors cautioned her to “be careful of the Super.”




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       14.     In addition, Vucetovic – who, based on a records search, is not a licensed home

improvement contractor in Westchester County (and is likely uninsured) – has a de facto monopoly

on apartment renovation work in the Regatta. He zealously protects his turf and bullies any

potential competition. And when a unit owner does not give Vucetovic apartment renovation

business, or when Vucetovic overcharges for his work and is questioned by an owner like Ms.

Jagoda, he retaliates viciously.

       15.     As Regatta Board President Andrew Maggio told Ms. Jagoda, Vucetovic treats the

Regatta “like his own personal fiefdom,” as he has been empowered to by the Board and RMR.

Vucetovic, in violation of the House Rules, freely breaks into apartments without permission and

without knocking or announcing himself and gets away with whatever he pleases. As Board

President Maggio told Ms. Jagoda: “What do you want me to do? Fire him and hire a Mexican

who can’t speak English?” The House Rules clearly do not apply to Vucetovic, who also lives in

the Regatta. As Board President Maggio said: “It’s hard to get someone to follow the rules when

he’s been doing what he wants for so long.”

       16.     In sum, as Vucetovic once said while intimidating and threatening Ms. Jagoda:

       “You own one unit, but I own the Building and the hallways in it, and if you
       keep acting this way, it’s not going to end up well for you.”

       17.     Moreover, at the Regatta, there is also a culture of bigotry. Vucetovic racially

profiles guests of unit owners and complaints by other women show a pattern of Vucetovic preying

on minorities. In addition, Board President Maggio has expressed his desire to get rid of owners

of some of the Building’s initially designated affordable housing units, who he calls the “Bronx

bombers” and says they “don’t know how to act.”

       18.     And when Ms. Jagoda’s parents, who are from Sri Lanka and dark skinned, met

Vucetovic for the first time, he greeted them with: “Welcome to America.”



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       19.     The Regatta’s Board of Managers, its managing agent (RMR), and Board President

Maggio, condone Vucetovic’s misconduct and protect and enable him. For example, they have

campaigned against owners who complained about Vucetovic and wanted to serve on the Board.

And on numerous occasions, when Ms. Jagoda reported Vucetovic to other members of the Board

and RMR, Maggio admonished her to send her complaints to him only.

       20.     Like other women at the Regatta, Ms. Jagoda was expected to tolerate the predatory

culture without protest. Ms. Jagoda, however, was unwilling to stand by in silence, and over the

course of 21 months, she notified the Board, Board President Maggio, other individual Board

members, and RMR at least 20 times about Vucetovic’s pervasive and severe misconduct, pleaded

for help, and asked them to investigate and take action. But instead of protecting Ms. Jagoda and

others, they ignored the Regatta’s so-called “sexual harassment policy,” did nothing, and

dismissively told Ms. Jagoda that Vucetovic “has a hot head but would never do anything.” On

one occasion, Board President Maggio even asked Vucetovic to conduct a so-called

“investigation” concerning an incident in which Vucetovic himself was the primary suspect.

       21.     Making matters worse, when women speak up, they pay an even heavier price. And

in Ms. Jagoda’s case, the ongoing retaliation against her has been brutal, as Vucetovic continues

to bully her for reporting his misconduct and rejecting his unwanted advances. For example, after

Vucetovic was overheard calling Ms. Jagoda a “bitch,” the word was scratched into the pillar next

to her spot in the garage. Vucetovic also interferes with the delivery of packages to her unit.

       22.     In addition, Vucetovic recently pulled up next to Ms. Jagoda in the parking garage,

stared her down with a nasty look, and yelled something derogatory in his native language.




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       23.     On another occasion, while Ms. Jagoda was sitting on her balcony and Vucetovic

was below in the courtyard, he stared her down with a nasty look and gave her the middle finger,

and as she photographed him in the act, he barked:

         “Did you get that? Send it to your mom and tell her to shove it up her ass!”




       24.     The Board, Board President Maggio, and RMR have long been aware of the

predatory culture that has permeated the Building and made its housing environment highly toxic,

harmful, and demoralizing for women. Before Ms. Jagoda, several other cases of sexual

harassment and other misconduct by Vucetovic were reported. But the Board’s, Board President

Maggio’s, and RMR’s condonation and ratification of discriminatory behavior – acts and

omissions that expose powerless women to abuse because they enable men like Vucetovic who

engage in such misconduct to do so without fear of punishment – have left Ms. Jagoda hopeless

and prove that Vucetovic is considered not just indispensable, but bulletproof.




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       25.     For example, Board President Maggio trivialized Vucetovic’s sexual harassment of

Ms. Jagoda by saying: “He’s just being a guy. At least he didn’t slap your ass.” On another

occasion, he told her she should “just sleep with [Vucetovic] and get it over with.”

       26.     In addition, Ms. Jagoda’s neighbor, a former Board president, once suggested that

she pay Vucetovic to leave her alone. Ms. Jagoda also went to the Mamaroneck Police to file a

report, but was discouraged after being told that Vucetovic “has a lot of friends in the Department.”

       27.     Apparently, at the Regatta, violence is considered a method of addressing unlawful

conduct. One time when Ms. Jagoda and Board President Maggio were discussing Vucetovic’s

misconduct, he said: “I’ll protect you. I can fight him. I have Roman blood in me because I’m

Italian.” Another time, when Ms. Jagoda complained about Regatta porter Nelson Calderon’s

inappropriate advances, Board President Maggio told her to “hire some guys to beat him up.”

       28.     Many female Regatta residents shared with Ms. Jagoda the similar experiences they

had but declined to speak on the record because they fear retaliation.

       29.     The impact of Ms. Jagoda’s claims extends far beyond this case. Failing to hold the

defendants accountable would set a dangerous precedent that will signal to the defendants and

others who govern, manage, and work for housing developments that “anything goes” and that

they are free to harass and marginalize women. This Court should not condone such a result.

                               BASIS OF THE ALLEGATIONS

       30.     Ms. Jagoda makes her allegations upon information and belief, except as to those

concerning Ms. Jagoda and others, which are alleged upon personal knowledge. Ms. Jagoda’s

information and belief is based upon, among other things, the investigation conducted by Ms.

Jagoda and her attorneys, including, without limitation, statements by current and former Regatta

residents and a review of documents and information concerning the Regatta and the defendants.




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                                 JURISDICTION AND VENUE

       31.     This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1343 as this action involves federal questions regarding the deprivation of Plaintiff’s

rights under federal law. This Court has supplemental jurisdiction over Plaintiff’s related claims

arising under state law pursuant to 28 U.S.C. § 1367(a).

       32.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because the acts or omissions

giving rise to this action, including the unlawful conduct alleged herein, occurred in this District.

                                             PARTIES

       33.     Plaintiff is an individual residing in Mamaroneck, New York.

       34.     Defendant Board of Managers of the Regatta Condominium (“Board”) consists of

the nine elected members of the Regatta’s Board of Managers. Pursuant to the By-Laws of the

Regatta (“By-Laws”), the Board is charged with governing the Regatta’s affairs by, among other

things, enforcing the By-Laws and the Regatta’s House Rules and Regulations (“House Rules”).

       35.     Defendant RMR Residential Realty, LLC (“RMR”) is a New York State limited

liability company with a principal place of business at 45 Knollwood Road, Suite 305, Elmsford,

New York 10523. At all relevant times, RMR has served as the Regatta’s managing agent. Pursuant

to Article III, Section 11 of the By-Laws, the Board delegated to RMR several duties and

responsibilities, including managing the Building’s employees, and made RMR its alter-ego. At

all relevant times, RMR acted by and through RMR Executive Vice President Wesley Woodlief.

       36.     Amet “Alex” Vucetovic (“Vucetovic”) is an individual residing in Mamaroneck,

New York. He is currently, and at all relevant times has been, employed as the Regatta’s Building

Supervisor, and in this capacity, he supervises employees and is in a position of authority.




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       37.     Defendant Andrew J. Maggio (“Board President Maggio”) is an individual residing

in Mamaroneck, New York. He is currently, and at all relevant times has been, the President of the

Board, and in this capacity, he supervises employees and is in a position of authority. Under Article

IV, Section 5 of the By-Laws, he is considered “the chief executive officer of the Condominium.”

       38.     Defendant Nelson Calderon (“Calderon”) is an individual residing in Mamaroneck,

New York. He is currently, and at all relevant times has been, employed as the Regatta’s porter.

                                CONFIDENTIAL WITNESSES

       39.     Several female Regatta unit owners, who have been living in the Regatta longer

than Ms. Jagoda, shared their experiences concerning, among other things, Vucetovic’s harassment

and bullying, the Regatta’s hostile housing environment and mistreatment of women and

minorities, retaliation, and the Board’s and RMR’s failure to take action in response to their pleas

for help and reports of misconduct. Each is designated as “CW__.”

       40.     CW1 is a woman of color in her 40’s who, at all relevant times, has been subjected

to sexual harassment, a hostile housing environment, bullying, and retaliation.

       41.     CW2 is a Caucasian woman in her 50’s who, at all relevant times, has been

subjected to sexual harassment, a hostile housing environment, bullying, and retaliation.

       42.     CW3 is a woman of color in her mid-30’s who, at all relevant times, has been

subjected to sexual harassment and a hostile housing environment.

       43.     CW4 is a Caucasian woman in her early 50’s who, at all relevant times, has owned

a unit in the Regatta. CW4 rented her unit to a young woman who complained that Vucetovic

sexually harassed and intimidated her.




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                                  FACTUAL ALLEGATIONS

A.     Ms. Jagoda is a Well-Rounded and Accomplished Individual

       44.     Ms. Jagoda is an accomplished and well-educated woman. She earned a B.A. in

Economics and Psychology with a Minor in Business Administration from Boston University and

a J.D./M.B.A. from Syracuse University’s College of Law and Whitman School of Management.

       45.     Ms. Jagoda is a Director of a Montessori School in Westchester County. A family

business, Ms. Jagoda and her parents have dedicated their careers to creating safe and nurturing

educational environments where young children can reach their full potential and experience the

joy of learning. They are proud to have created a “home away from home” for countless students

and their families in the communities they have served for over 45 years.

       46.     In addition, Ms. Jagoda has always been dedicated to giving back to society.

Several times a year, she works as a volunteer for a group that feeds the homeless outside The

Bowery Mission in New York City.

B.     Ms. Jagoda Was, and Continues to Be, a Victim of Sexual Harassment, Bullying,
       Intimidation, and the Regatta’s Hostile Housing Environment

                   December 2018 – January 2019: The Harassment Begins

       47.     On December 20, 2018, Ms. Jagoda purchased an apartment in the Regatta.

       48.     On December 26, 2018, Ms. Jagoda met Rafael Barajas, a home improvement

contractor referred by her realtor, at the Building to discuss apartment renovations. After exiting

the elevator and entering her floor, Vucetovic was there to greet them. Vucetovic knew Barajas

and, in a hostile tone, asked what he was doing, as if marking his territory and protecting his turf

from a competitor. Ms. Jagoda and Barajas walked away from Vucetovic. After they entered the

apartment, Ms. Jagoda closed the door and locked it.




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       49.     While Ms. Jagoda and Barajas were meeting, Vucetovic – without knocking or

announcing himself – broke into her locked apartment. Vucetovic, who is not a licensed home

improvement contractor, barged in and started pitching work that he could do. Ms. Jagoda and

Barajas stepped away and Barajas told her he got the sense that only Vucetovic does renovations

in the Building; feeling uncomfortable, he left. With Barajas gone, Vucetovic pressured Ms.

Jagoda and gave her a tour of units he claimed to have renovated. Each time, he did not knock or

announce himself. Instead, he broke in with a credit card, making Ms. Jagoda uncomfortable.

       50.     Each time Vucetovic breaks into a unit without permission, he violates Rule 20.5

of the House Rules, which provides:

       Board Member, RMR Residential Realty, LLC[,] Personal [sic] and Staff or other
       Unit Owners are not allowed to enter a Unit without being invited or given
       permission by the Unit Owner or Resident with the exception that the unit may be
       entered without permission in cases of emergencies.

       The building Staff is managed by RMR Residential Realty, LLC. No Board
       member except the Board President or Vice-President is authorized to direct the
       Building Staff on any issue. Any problems or issues that other Board Members,
       unit owners and renters have should be brought to the attention of RMR Residential
       Realty, LLC.

       51.     Later that week, Ms. Jagoda brought her parents, who are from Sri Lanka and dark

skinned like Ms. Jagoda, to the Building, as they wanted to meet Vucetovic after what had

transpired. Vucetovic rudely greeted them by saying: “Welcome to America.”

       52.     Ms. Jagoda’s parents had emigrated to the United States over 40 years ago.

       53.     Vucetovic then broke into her neighbor’s apartment to show Ms. Jagoda’s parents

his work. Notably, the neighbor later informed Ms. Jagoda that Vucetovic had not performed work

in his unit and that he had not given Vucetovic permission to enter with guests.

       54.     After Vucetovic made Ms. Jagoda feel like she had no choice, she reluctantly

agreed to let him do the renovations.



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       55.     Notably, in Rule 11 of the House Rules, there is a stringent process for renovating

apartments which requires Board approval and that the work be performed by licensed and insured

contractors, with one unwritten exception: if the unlicensed Vucetovic does the work or the owner

is friends with him, the owner can bypass the process. Ms. Jagoda is aware of at least four owners

who bypassed the process because they are friends with Vucetovic or he performed the work.

       56.     On December 31, 2018, when discussing the renovations, which included knocking

down interior walls, Vucetovic asked Ms. Jagoda to select paint colors. Ms. Jagoda said she wanted

pink, and Vucetovic proceeded to ask unwelcome questions about her sexual life: “You don’t want

any men to come in your bedroom?” Feeling uncomfortable, she said no. Vucetovic responded:

“Are you a lesbian?” Ms. Jagoda said no.

       57.     Ms. Jagoda told Vucetovic that she was going to be away on a trip to Sri Lanka

with her family, leaving the evening of January 9 and returning on January 26. During that time,

Vucetovic and his crew would perform the renovations.

       58.     On January 9, 2019, Ms. Jagoda met Vucetovic to give him a mirror to hang in the

entryway. Vucetovic, for no legitimate reason, asked her to come to the basement to put the mirror,

that he could easily carry, in storage.

       59.     Vucetovic led Ms. Jagoda to a desolate concrete room. Feeling nervous, she stayed

at the doorway. He said, “come in, don’t be scared,” but she did not enter.

       60.     After putting the mirror away, Vucetovic told Ms. Jagoda that he was going to walk

her to her car in the garage despite the fact that she neither asked him nor wanted him to.

       61.     Vucetovic followed Ms. Jagoda to her car but did not leave when they arrived.

Instead, he watched her get in.




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        62.    After Ms. Jagoda was seated but before she could close the door, Vucetovic stepped

in between her and the door, took her hand, held it, and said “don’t go off and get married” while

in Sri Lanka. He then took the hood of her jacket, placed it over her head, stared at her in a

sexualized manner, smiled, and left. Each of Vucetovic’s physical contacts, statements, and looks

was unwanted and left Ms. Jagoda stunned and afraid.

        63.    Making matters worse, Vucetovic called Ms. Jagoda that night and asked her to

come back. He said he’d miss her and asked if her mother could go away and she could stay.

        64.    Then, while Ms. Jagoda was away, she had to speak with Vucetovic about the

renovations. Each time, after discussing them, he asked if she was alone – an unwanted attempt by

Vucetovic to make the conversation sexual. Each time she said no, and he abruptly ended the call.

        65.    When Ms. Jagoda returned, she was nervous about seeing Vucetovic, and when she

did, he said: “You’ve been acting different. Did you meet someone in Sri Lanka?”

        66.    Ms. Jagoda had just arrived at the Regatta, but she already felt afraid in her own

home.

  February 2019: The Harassment Continues and Ms. Jagoda Reports it For the First Time

        67.    On the morning of February 4, 2019, Ms. Jagoda spoke to Vucetovic about the

renovations, and he followed up to ask when she was having lunch. He said they should go to

lunch and Ms. Jagoda politely responded that she doesn’t usually take lunch breaks.

        68.    Ms. Jagoda was very distressed. She did not know who at the Regatta to ask for

help and who she could trust, if anyone, as Vucetovic was very comfortable acting inappropriately.

        69.    Later that month, Ms. Jagoda asked Vucetovic to fix a toilet that was working

before the renovations. He charged $400 for a Flushmate that he installed, but when she questioned

it, because it did not cost anything as he took it from the Building’s inventory, he screamed at her.




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        70.     And in response to her statement that the toilet worked before the renovations, he

said, in a hostile tone: “That doesn’t matter! It doesn’t work now! I put the Flushmate in! Do you

think it’s free?”

        71.     On February 21, 2019, Ms. Jagoda saw Vucetovic by the garage elevator. He was

with Board President Maggio, who she was meeting for the first time. A man named Sabi, who

worked for Ms. Jagoda’s family, was with her. She asked Sabi to escort her because, after the

incidents with Vucetovic, she was afraid to go alone.

        72.     Vucetovic falsely told Board President Maggio that Ms. Jagoda was dating Sabi.

She unequivocally denied it, but Vucetovic mocked and overruled her: “No, she is dating him.”

Board President Maggio and Vucetovic enjoyed a good laugh at Ms. Jagoda’s expense.

        73.     Moments after Ms. Jagoda and Sabi entered her apartment, there was a knock at the

door. It was Vucetovic and Board President Maggio, who said he wanted to see Vucetovic’s

renovations. Ms. Jagoda did not want to let him in, but she was caught off guard. Board President

Maggio entered and gave himself a full tour of the apartment. Without asking for permission, he

entered her most private spaces, the bedroom and bathroom, in which she had personal items.

        74.     On his way out, Board President Maggio looked at Sabi and, belittlingly, said:

“Make sure [Ms. Jagoda’s] Mommy and Daddy pay you for doing work here.”

        75.     On February 23, 2019, Ms. Jagoda had a call with Board President Maggio. He told

her that: (i) another woman in the Building complained about Vucetovic “being flirty with her”;

and (ii) Vucetovic “gets flirty” with housekeepers and had flirted with his housekeeper.

        76.     Ms. Jagoda then reported the January 9 incident in the garage (¶¶ 58-63), but Board

President Maggio trivialized it: “He’s just being a guy. At least he didn’t slap your ass.”




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       77.     Ms. Jagoda then reported the incident when Vucetovic got aggressive about paying

him for the Flushmate. Board President Maggio asked: “Did he use four letter words?” When Ms.

Jagoda said no, he told her how much Vucetovic gets paid and said: “That’s okay, he has a hot

head. He doesn’t get that much money so he needs compensation.”

       78.     Board President Maggio then told Ms. Jagoda about another female unit owner’s

complaint that Vucetovic had racially profiled her African American guests.

       79.     Ms. Jagoda then told Board President Maggio that Vucetovic asked her to lunch,

and he advised that as long as she doesn’t figuratively “open the door,” Vucetovic will get the

message. Board President Maggio mentioned that Vucetovic sings at nightclubs, used to be a “rock

star” in Albania, and still has a “rock star mentality about getting girls.”

       80.     Ms. Jagoda then asked Board President Maggio for permission to change the locks

and put a chain lock on her door because she was scared to move in. He said she could.

       81.     Ms. Jagoda then asked Board President Maggio about what checks and balances

were in place to monitor Vucetovic’s behavior, but he did not have an answer. Instead, he told her

that, going forward, she could ask him for help – which proved to be insincere.

       82.     Board President Maggio then asked Ms. Jagoda who knew about her problems with

Vucetovic, and she said her realtor. Board President Maggio insisted he had to tell Vucetovic about

her concerns. She said she was scared about Vucetovic retaliating, but he said he would only tell

Vucetovic that another woman, not Ms. Jagoda, complained about his behavior.

                   March 2019: The Harassment and Intimidation Continues

       83.     On March 15, 2019, Vucetovic approached Ms. Jagoda in the garage and said: “You

don’t call me anymore.” Feeling uncomfortable, she ignored him and walked away.




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       84.     A few days later, the harassment continued after Ms. Jagoda complained that

Vucetovic overcharged her for plumbing work. Ms. Jagoda paid Vucetovic a lump sum for the

renovations. Vucetovic, acting as general contractor, subcontracted the plumbing to Hudson

Plumbing (“HP”), which does a lot of work in the Building. But in February, HP billed Ms.

Jagoda’s mother for all of the work despite the fact that Vucetovic, as GC, should have paid HP,

so Ms. Jagoda asked HP for a breakdown of the bill. After reviewing it, she offered to pay HP for

certain items (despite the fact that they were Vucetovic’s responsibility), but HP threatened to put

a lien on Ms. Jagoda’s property if she did not pay the full amount. Ms. Jagoda then sent a letter to

HP explaining the situation and advising how much she paid Vucetovic.

       85.     On March 19, 2019, after Vucetovic found out, he yelled at Ms. Jagoda in the

garage: “Do you have any problems?” Ms. Jagoda, scared, said no. He demanded to know why

she sent the letter to HP and she explained that HP threatened to put a lien on her unit. Vucetovic

also said that she should not have told HP what she paid him and that he was infuriated. Vucetovic

then asked, condescendingly: “Do your parents not pay their bills either?”

       86.     On March 22, 2019, Ms. Jagoda received a letter from RMR Executive Vice

President Wesley Woodlief, alleging that “[t]here is ample evidence that trash and/or recycling

waste from your unit is consistently not properly disposed.” The letter claimed that “[t]his area is

covered by the surveillance camera system and those violating the disposal rules will be fined.”

       87.     That day, Ms. Jagoda e-mailed Woodlief, refuting his baseless claims about the

trash and advising him of “unpleasant circumstances” and an “unwelcome greeting” since she

purchased her unit:

       Since signing the papers for my apartment at the Regatta, there have been a number
       of unpleasant circumstances that have constituted quite an unwelcome greeting to
       the building. I have chosen not to complain to get along with others and try to deal
       with the issues myself. This letter does not help.



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       88.     The following day, Ms. Jagoda met with Board President Maggio at his law office

on East Boston Post Road to further discuss her problems with Vucetovic. As she had already

reported Vucetovic’s December 2018–February 2019 misconduct to Board President Maggio (¶¶

75-82), she reported the March 19 incident (¶ 85).

       89.     Board President Maggio responded that another owner had complained about being

overcharged by Vucetovic for renovations.

       90.     Board President Maggio also told Ms. Jagoda that the Regatta was initially built as

affordable housing and expressed his desire to get rid of the “Bronx bombers.” According to Board

President Maggio, several original owners are from the Bronx and “don’t know how to act.”

       91.     Board President Maggio then told Ms. Jagoda about his high school’s hockey team

and laughed as he recounted how the coach told the players to “hit the opposing team with their

purses because they’re playing like a bunch of girls.”

                   Neighbors Warn Ms. Jagoda to “Be Careful of the Super”

       92.     Vucetovic’s reputation for making unwelcome sexual advances toward women and

engaging in other harassing behavior was not a secret. Ms. Jagoda spoke with Richard and Enid

Hammer, who live on her floor, and Mrs. Hammer warned her: “Be careful of the Super.”

       93.     A few days later, Ms. Jagoda’s mother came to meet the Hammers because she

wanted to find out if Ms. Jagoda could turn to them if she needed help. During the conversation in

the Hammers’ apartment, Mr. Hammer – a former Regatta Board President – said that none of the

former Board Presidents left their key with Vucetovic because they did not trust him.




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                        April 2019: The Harassment Continues and
                Board President Maggio Tells Ms. Jagoda About Other Victims

       94.     On April 17, 2019, Board President Maggio told Ms. Jagoda that he once

recommended to a “Spanish” female owner (“CW1”) who he called “crazy” that Vucetovic help

her with something in her apartment, but the woman rejected the recommendation and said “no,

no, sexual harassment,” and Vucetovic was not permitted to enter her unit without being

accompanied by a female Board member. Board President Maggio laughed as he told the story.

       95.     Board President Maggio also said that Vucetovic treats the Regatta “like his own

personal fiefdom.”

       96.     On April 20, 2019, Ms. Jagoda’s family came to visit. Her mother waited in the car

in the garage while her father and brother went upstairs. On their way, they saw Vucetovic. Shortly

thereafter, Ms. Jagoda got a call from Board President Maggio, who said she was allegedly seen

on the security cameras “tracking dog poop in the elevator” and he asked if she did. The allegation

was false, and she said no. While Ms. Jagoda’s mother waited in the garage, she heard Vucetovic

yell “that bitch got dog poop on the elevator” and that he was going to check the cameras. Board

President Maggio later called Ms. Jagoda and said: “Don’t worry, you’re not in trouble.”

 May 2019: The Harassment and Intimidation Continues and Board President Maggio Tells
            Ms. Jagoda to “Just Sleep with [Vucetovic] and Get it Over With.”

       97.     On May 20, 2019, Board President Maggio called Ms. Jagoda. He told her that a

female unit owner (“CW2”) – who he called “crazy” – and her neighbor, Danny Amicucci, were

running for the Board. He said he wanted to tell everyone at the annual meeting that he objected

to CW2, that CW2 had “a vendetta” with Vucetovic, and that he had to make sure she was not on

the Board. He later informed Ms. Jagoda that he wanted to stack the odds against CW2.




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       98.     On May 29, 2019, Ms. Jagoda met with Amicucci to find out what he would be like

if he was elected. She asked if he was friends with Vucetovic, and he said no. She told him about

her problems with Vucetovic – the sexual harassment and bullying and that she installed a deadbolt

and chain lock on her door out of fear. She then asked Amicucci if he would feel comfortable

disagreeing with Board President Maggio if he was on the Board, and he said that he would.

       99.     Prior to being elected to the Board, Amicucci also met with CW1 and CW2 and,

regarding Vucetovic, he gave each of them the sense that he was on the women’s side.

       100.    Amicucci then told Ms. Jagoda that he was in her unit when Vucetovic and his crew

took down the wall in her kitchen and that Vucetovic used Amicucci’s electrician. When Ms.

Jagoda offered to show Amicucci her new bathroom, he told her that he had already seen it.

       101.    On May 31, 2019, Vucetovic stopped Ms. Jagoda’s deliverymen from bringing

packages to her unit; he said they were not permitted to enter without insurance. The deliverymen

laughed as the claim was false. While the deliverymen waited downstairs, Ms. Jagoda texted Board

President Maggio a photo of the packages and called him to ask if Vucetovic’s claim was true.

After Board President Maggio called Vucetovic, the deliverymen were allowed to enter.

       102.    Board President Maggio called Ms. Jagoda later that day and asked if she got the

packages. He then joked that she should “just sleep with [Vucetovic] and get it over with.”

                       Vucetovic Threatens Ms. Jagoda and Warns Her:
                         “I Own the Building and the Hallways in It”

       103.    Later that day, Ms. Jagoda entered the elevator with Sabi from the garage to go

upstairs. The elevator stopped at the first floor and Vucetovic was standing there. Ms. Jagoda

quickly pressed DOOR CLOSE, but Vucetovic stuck his hand inside and forced the doors open.




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       104.    Vucetovic got into the elevator and inappropriately hugged Sabi, who was very

uncomfortable. Ms. Jagoda asked Vucetovic to stop. Vucetovic then lost his temper and told Ms.

Jagoda that he runs the Building. She responded that she is a unit owner.

       105.    Vucetovic followed them to Ms. Jagoda’s apartment. When they got to the door,

Vucetovic got in Ms. Jagoda’s face and said: “You own one unit, but I own the Building and the

hallways in it, and if you keep acting this way, it’s not going to end up well for you.”

       106.    Ms. Jagoda feared for her safety and asked Vucetovic to leave, but he refused and

continued to intimidate Ms. Jagoda, who was shaking. As Vucetovic stared her down, she called

Board President Maggio and reported the incident. He asked her to put Vucetovic on the phone.

After speaking briefly with Board President Maggio, Vucetovic handed her the phone and left.

       107.    Later, Board President Maggio called Ms. Jagoda and told her that there have been

numerous complaints about Vucetovic and that he told Vucetovic to text her an apology.

       108.    On May 31, 2019 at 9:15 p.m., Board President Maggio called Ms. Jagoda to talk

about Vucetovic, who is Albanian. He said, “Albanians are primitive, tribal people” who “respond

to hierarchy” and “just like a dog, Vucetovic needed that knock on the nose.”

       109.    Shortly thereafter, Ms. Jagoda ran into Board President Maggio in the garage.

Again, they were talking about Vucetovic’s harassment and bullying, and he said: “I’ll protect you.

I can fight him. I have Roman blood in me because I’m Italian.”

         June 2019: Ms. Jagoda and Other Women Report Vucetovic’s Misconduct to
        Two Regatta Board Members and Officers: Susan Jansen and Bridget McGraw

       110.    On June 5, 2019 at 7:00 p.m., Ms. Jagoda met two other female residents at a

workshop (in Vucetovic’s office in the garage) about the Building’s finances that Susan Jansen

(Board Member and Treasurer) and Bridget McGraw (Board Member and Secretary) were

conducting. They reported their experiences with Vucetovic and Jansen and McGraw listened.



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       111.    CW2 said Vucetovic was inappropriate with her and assigned her a parking spot

number that has a sexual connotation (despite having other spot numbers to choose from) and

made sexual jokes about it. She also said that Vucetovic became spiteful when she did not allow

him to do renovations in her apartment and that he intimidated and bullied her. (Notably, the Board

was already aware of CW2’s complaints. CW2 told Ms. Jagoda after the workshop that she told

the Board about Vucetovic, but they said they did not believe her.)

       112.    McGraw asked questions and Ms. Jagoda reported some of her problems, including

the January 9th incident and that Vucetovic broke into apartments. Jansen and McGraw expressed

concerns. At one point, McGraw asked people to stop interrupting Ms. Jagoda so she could speak.

       113.    Another owner (“CW3”) reported that Vucetovic broke into her apartment while

her daughter was alone inside. Vucetovic was supposed to do maintenance work for her, but

instead of knocking and announcing his presence, he broke in while CW3 was out but her daughter

was inside. CW3 said she was scared to speak up and that Vucetovic overcharged her for work.

       114.    Jansen asked questions about Vucetovic breaking into apartments and seemed

concerned about Vucetovic breaking into CW3’s apartment while her daughter was alone.

       115.    CW3 also reported incidents of sexual harassment. One time, she was walking

down Mamaroneck Avenue and Vucetovic grabbed her shoulders from behind. She also saw

Vucetovic ogling her and staring at her buttocks. She said Vucetovic often flirted with her and that

it was not until Ms. Jagoda moved in that Vucetovic started to leave her alone.

       116.    McGraw emailed Ms. Jagoda to thank her “for being brave enough to share what

has happened with [Vucetovic]” and ask for a written statement. Ms. Jagoda said she needed to

“proceed with caution” as residents warned that “it is futile to speak up because nothing happens.”

Ms. Jagoda said that she felt she would be “giving [Vucetovic] more of a reason to pick on me.”




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       117.    On June 6, 2019, Board President Maggio called Ms. Jagoda. He was upset and

wanted to know what happened at the finance workshop and what she told Jansen and McGraw.

He expressed concern that Vucetovic might get fired and said: “At least you’re going to get what

you want now. But no one else here knows how to turn on the boiler.”

       118.    Board President Maggio then said he was going to tell the Board that Ms. Jagoda

asked him not to tell the Board about the harassment, which would be a lie; that was completely

false, as Ms. Jagoda never asked him to do that.

       119.    Board President Maggio even attempted to blame Ms. Jagoda for her own

harassment. He asked if she had been in an abusive relationship (she has not), suggesting that if

so, it might be why she is afraid of Vucetovic and that she is overreacting. He asked her this

frivolous and insulting question on numerous occasions.

       120.    On June 9, 2019, Ms. Jagoda spoke to McGraw. She convinced Ms. Jagoda to speak

to the Regatta’s attorney, James W. Glatthaar (“Attorney Glatthaar”), and then contacted Board

President Maggio to let him know that Ms. Jagoda was ready to speak with Attorney Glatthaar get

his phone number.

       121.    On June 10, 2019, Ms. Jagoda spoke with McGraw. McGraw said the Board would

not take any action against Vucetovic unless she provided a formal written statement. But Ms.

Jagoda knew that she could not rely on McGraw’s advice as Board President Maggio had told her

that in the past, other unit owners came forward and submitted complaints about Vucetovic,

ranging from sexual harassment to excessive charges for renovations, all to no avail.

       122.    On June 19, 2019, Board President Maggio texted Ms. Jagoda. She responded: “I

need some space to process everything.” When he finally got Ms. Jagoda on the phone, he said, in

response to the above statement: “Do you use that line on your boyfriends?”




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       123.    Board President Maggio then grilled Ms. Jagoda and asked for a full recitation of

her experiences with Vucetovic despite the fact that she had already reported them several times.

       124.    Later that evening, the annual owners’ meeting and election for the Board were

held. Amicucci was elected to the Board. He was later appointed Vice President.

       125.    At the meeting, Ms. Jagoda saw a fellow female unit owner (“CW4”) who told her

that a young woman to whom she had rented her apartment had complained that Vucetovic

sexually harassed and intimidated her. Eventually, the tenant moved out.

       126.    Also, at the meeting, there was controversy about Board President Maggio’s right

to serve on the Board and as President under the By-Laws as many claimed he is not a unit owner.

Under Article III, Section 1, “all [Board] members shall be Owners of Units” (with certain

exceptions that do not apply). Under Article IV, Section 1, “[a]ll officers must be Unit Owners or

members of the Board of Managers.”

       127.    Several unit owners asked Board President Maggio for proof that his name is on

the deed to his unit. Attorney Glatthaar was present and represented that he saw Board President

Maggio’s name on the deed, but he refused to show proof.

       128.    In fact, Board President Maggio’s name has never been on the deed to his unit. The

deed, dated December 13, 2017, is, and has always been, in Board President Maggio’s wife’s

name. Thus, Board President Maggio is currently, and has always been, improperly serving on the

Board and as President in violation of the By-Laws.

 July – October 2019: The Harassment Continues and Ms. Jagoda Reports It Several Times

       129.    On July 3, 2019, Ms. Jagoda was on her balcony with a female friend trying to

enjoy a nice afternoon. From the Building’s courtyard (also called the “plaza”), Vucetovic stared

at her friend, making her uncomfortable.




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        130.    On July 10, 2019, the Building’s porter, Nelson Calderon, approached Ms. Jagoda

in the garage. He told her she is pretty and asked if she is single. He then told her that he is unhappy

in his marriage and asked if she would date a married man. She said no.

        131.    Calderon then asked Ms. Jagoda if she had seen the Building’s new walkway. She

said she did not and asked if it was nice. Calderon told her she could go see it and she said she

thought it was closed for use by residents. Calderon then said that she could go because “no one

follows that rule.”

        132.    Ms. Jagoda called Board President Maggio and reported the incident with Calderon.

        133.    During a subsequent phone call, the issue with Calderon came up and Board

President Maggio told Ms. Jagoda to “hire some guys to beat [Calderon] up.”

        134.    On July 10, 2019, Ms. Jagoda saw Amicucci, who is a licensed home improvement

contractor, in the plaza with Vucetovic and other workers taking measurements. She asked Board

President Maggio about it and he said Amicucci has been trying to get contracting business from

the Building.

        135.    During a separate call, Board President Maggio said that at Board meetings,

Amicucci repeatedly asks to do contracting work for the Building. He told her that he had planned

to give Amicucci some work.

        136.    It became clear that Amicucci, a Board Member and Vice President, would not be

adversarial with Vucetovic or Board President Maggio as they are the gatekeepers for getting

construction business from the Regatta.

        137.    On July 12, 2019, Ms. Jagoda sent an email to Board President Maggio, Jansen,

and Woodlief stating:




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       I would like to formally request that there be sexual harassment training and a
       forthright discussion about boundaries with all maintenance workers at the Regatta.
       Included in this discussion should be a clear mandate that making advances on
       women in the building is strictly forbidden. I fear for my safety and am choosing
       to remain anonymous at this time, but I am reaching a point where I may have to
       give a statement. Please let me know when this conversation is had with the
       employees.

       Employees of the Regatta feel empowered by their ability to get away with a wide
       array of things. Clear lines need to be drawn. After this is done, if those lines are
       crossed again, I will need to take action.

       138.    Later that month, Board President Maggio called Ms. Jagoda and mentioned the

women who have complained about Vucetovic. He then said that “no one would touch them with

a 10-foot pole,” but he could understand why the harassment would happen to Ms. Jagoda.

       139.    Notably, on another occasion, when Ms. Jagoda saw Board President Maggio when

she was walking in front of his law office on Boston Post Road, he told her that when he was

younger, he “got a lot of girls” and that older ladies would hit on him. He told Ms. Jagoda about

an encounter he had with an older lady and, as he did, he made a sexual up-and-down hand motion.

       140.    On September 29, 2019, Board President Maggio was driving in the garage, pulled

up next to Ms. Jagoda (who was walking) and stopped. He told her she looked different “in a good

way,” that her face “looked narrower” and she “looked good.” Ms. Jagoda told him that she was

dressed up because she went on a date earlier that day to the New York Botanical Garden in the

Bronx. Board President Maggio told her to send him pictures from her date. She texted him a few

pictures of the gardens only, none of herself.

       141.    Board President Maggio then told Ms. Jagoda that he had something funny he

wanted her to hear. It was a recording of a 911 call that CW2 made when she and Board President

Maggio got into an argument earlier that month. He laughed as he played it.




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       142.    On October 2, 2019, Ms. Jagoda came home for lunch and saw Vucetovic in the

garage. Twenty minutes later, someone put copies of two negative articles about CW2 under every

door in the Building. The articles – at the top of which someone wrote “[CW2] apt. # ---” in bold

– were published in community newspapers in one of New York City’s outer boroughs that Regatta

residents would not have seen but for this smear campaign.

              November-December 2019: The Harassment and Bullying Continues
                         and Ms. Jagoda Reports It Several Times

       143.    In November 2019, Board President Maggio called Ms. Jagoda. He said he ran into

another female unit owner and asked if she knew her. She said yes and that she knew the woman

had problems with Vucetovic. He quickly changed the subject.

       144.    Ms. Jagoda sent a text message to McGraw and Board President Maggio, who then

called Ms. Jagoda and expressed his displeasure with her including McGraw. Board President

Maggio asked Ms. Jagoda if she was talking to McGraw and discouraged her from doing so.

Notably, McGraw once told Ms. Jagoda that Board President Maggio “verbally abused her” in a

chain of emails with other Board members.

       145.    Board President Maggio also asked Ms. Jagoda if she talks to CW3, who had

submitted a statement about Vucetovic sexually harassing her and breaking into her apartment.

       146.    During Christmas, Ms. Jagoda gave a gift to a maintenance worker named Ari, who

Board President Maggio calls “a dummy.” Ms. Jagoda told Maggio that she was glad Ari was hired

because he is a nice person. He responded: “Oh, you don’t want him, he has a kid.”

       147.    During Christmas, Ms. Jagoda did not give gifts to Vucetovic or Calderon.

       148.    On January 2, 2020, Ms. Jagoda went to her car and found “BITCH” – the word

Vucetovic previously used to refer to Ms. Jagoda (¶ 96) – scratched into the pillar next to her spot:




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        149.    Feeling scared, Ms. Jagoda texted Board President Maggio this photo and he called

her. She told him that she was concerned for her safety. Board President Maggio called her back

and said he asked Vucetovic if he did it, and he denied it. He said he believed Vucetovic.

        150.    Instead of conducting an independent investigation, Board President Maggio asked

Vucetovic himself to conduct the investigation and check the security camera footage. Based on

Vucetovic’s word alone, the matter was dismissed.

        151.    That same day, Board President Maggio called Ms. Jagoda as she was pulling into

the garage, to ask if his housekeeper could use her parking spot. This request was strange. At the

time, the garage was nearly empty, and his housekeeper could have parked in any spot, yet he

picked the one with “BITCH” scratched into the pillar next to it. This made no sense. Ms. Jagoda,

concerned about Board President Maggio’s true motive for calling her, told him that she was going

to file a police report.

        152.    Ms. Jagoda called the Mamaroneck Police Department. The responding officer

asked her about this incident and others, but he was dismissive.

        153.    A few days later, Ms. Jagoda went to the Mamaroneck Police Department. An

officer told her that when she had the courage, she could give a statement. He said another woman

in the Regatta had complained about Vucetovic and they were “keeping an eye on the situation.”




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       154.   Ms. Jagoda then spoke on the phone with Mr. Hammer, a former Board president,

about what happened, and he suggested that she pay Vucetovic to leave her alone.

       155.   Ms. Jagoda then texted Board President Maggio and McGraw to ask for permission

to attend the upcoming monthly Board meeting to discuss her grievances with Vucetovic. Board

President Maggio objected – on the grounds that having owners speak at Board meetings is too

time-consuming – and said that she could only e-mail her grievance.

       156.   In response to the objection, McGraw sent an e-mail to the other Board members,

who agreed to hear Ms. Jagoda at the meeting. Board President Maggio then insisted that Ms.

Jagoda had to send an e-mail detailing her grievances before she could be heard.

       157.   That evening, Ms. Jagoda spoke with McGraw, who said that she was “in charge

of” sexual harassment complaints against Vucetovic. Ms. Jagoda said that she did not know who

she could trust. McGraw also told Ms. Jagoda that she had suggested posting contact information

for people who had complaints of sexual harassment in the Building for residents to see but the

Board did not want to advertise this out of fear that it would encourage others to come forward

and complain about Vucetovic.

       158.   McGraw then recommended that Ms. Jagoda get a dog as a form of protection

because Vucetovic is afraid of dogs.

       159.   McGraw also said that she reviewed the complaints that have been made against

Vucetovic and noticed a pattern of Vucetovic preying on women and minorities.

       160.   On January 10, 2020, Ms. Jagoda sent a lengthy e-mail to the Board – Board

President Maggio, Dominick Ruggiero, Stephen Israelsky, Bridget McGraw, Anthony Villa, and

Susan Jansen – detailing her grievance in order to be allowed to speak at the Board meeting:




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I am writing this e-mail as per [Board President Maggio’s] request that I submit a
letter detailing my concerns before being allowed to speak with The Board. I have
been an owner at the Regatta since December 2018. From the first day I stepped
onto my hallway floor as an owner, I have been harassed by Alex Vucetovic. I will
never forget being treated in a rude and hostile manner, as though I were an intruder
on the floor of my own apartment unit that I paid a large sum to acquire. No new
owner at the Regatta should be “welcomed” in that way. Now, over a year later, I
will not tolerate any further instances of harassment or intimidation. I have the right
to live in my place of residence in peace.

The Board has a fiduciary duty to victims at the Regatta, but a conflict of interest
arises due to the close nature of the relationship that Alex has formed with some
members of the Board.

On January 2nd, I noticed the word “BITCH” scratched into the garage pillar on
the side of the pillar facing my parking spot. I see it every time I get out of my car.
This was done on or after January 1, because I look at that side of the pillar every
time I park and get out of my car, and I had not seen it prior to Jan. 1.

When I informed Andrew Maggio of the vandalism, he asked Alex to check the
footage. The fact that he asked the person he knew was responsible for harassing
and intimidating me to check the footage shows that: 1) I can no longer go to him
as a primary point of contact with regard to harassment/intimidation; 2) there needs
to be an impartial party/committee to whom these incidents can be reported and
who will take action to appropriately address the situation; and 3) if something were
to happen to me at the hands of Alex or someone willing to do his bidding, and
surveillance cameras caught the footage, Alex would be able to erase the footage.

I have made a police report documenting this incident, and going forward I will call
the police anytime I am further made to feel uncomfortable in the place that I
live. Given the many things that have happened to me, every new incident that may
seem trivial to others is a new item on a long list of harassment and intimidation
that causes me great concern.

Members of the Board have told me that Alex would not harm me, but they
have not been on the receiving end of his threats or verbal aggression. I have
provided members of my family with a list of dates and descriptions of the
many occasions of intimidation and harassment. The document also includes
which members of the Board I have discussed matters with and witnesses to a
number of the events that happened to me. If anything happens to me, my
family has what they need to hold all parties involved responsible.

The Board of the Regatta is doing many things to help the building recuperate
financially and structurally, and it would be sad for all of that work to be eclipsed
by a legacy of essentially aiding and abetting harassment and intimidation of
multiple females who live in this building. Bad publicity caused by legal action
would tarnish the reputation of the Regatta and the Board.


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       I am requesting a meeting with the Board to reach a solution to this problem before
       I pursue remedies that do not involve a collaborative solution. Face to face meetings
       foster productive and cooperative dynamics whereby a solution can be reached.
       Letters back and forth are impersonal and will only escalate the issue at hand.

       Please also inform me when the derogatory word will be painted over, so that I will
       know when not to be around in order to avoid Nelson. His inappropriate comments
       prompted my e-mail to the Board regarding sexual harassment training. Knowing
       Nelson’s nature and his reputation at the Regatta, I believe Alex put Nelson up to
       this in order to bring my credibility into question and to make sure I couldn’t go to
       Nelson for any help I may need. [Emphasis added.]

       161.    Board President Maggio replied to Ms. Jagoda, copying Attorney Glatthaar and

Woodlief, stating: “Thank you for your email. A response and meeting will be forthcoming.”

                                 January 2020 Board Meeting

       162.    Ms. Jagoda arrived for the Board meeting and saw what looked like a parking

garage camera on the table and a sign that said “smile, you’re on camera.”

       163.    The following Board members were present: Board President Maggio, Paolo

Strino, Bridget McGraw, Susan Jansen, Dominick Ruggiero, Danny Amicucci, and Anthony Villa.

Ms. Jagoda’s mother attended as well. When she walked in, another gentleman who she did not

recognize was present.

       164.    Ms. Jagoda asked the members of the Board if they read her e-mail. No one

responded, and Ms. Jagoda waited until they did. Finally, Amicucci and another Board member

said they read the e-mail.

       165.    Ms. Jagoda then said that change happens at the top, which is why she was coming

to the meeting. She discussed several incidents with Vucetovic, starting from the beginning, and

told the Board that she had previously reported the incidents to four Board members.




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       166.    When Ms. Jagoda was finished speaking, Board President Maggio identified

Attorney Glatthaar, who she did not recognize and was unaware was present. He started

questioning Ms. Jagoda but, feeling blindsided, she did not answer. She also did not trust Attorney

Glatthaar based on the belief of several unit owners that he misrepresented seeing Board President

Maggio’s name on the deed to his unit.

       167.    Next, Jansen said she was present when Ari painted over the word “BITCH” on the

pillar next to Ms. Jagoda’s spot. Ms. Jagoda asked why she was not informed when it was done as

she had requested. Jansen said it was because she had not read that part of Ms. Jagoda’s e-mail.

Jansen said that she personally went to the garage and watched Ari paint over it, but before he did,

she felt the word with her finger. She said she was disturbed that someone expended the energy to

scratch that into the pillar and she wanted to find out who did it.

       168.    Ms. Jagoda then requested that a three-person committee be appointed to review

complaints about Vucetovic’s conduct going forward. Jansen said it was not possible but there was

a harassment form that could be filled out on the Regatta’s website.

       169.    Ms. Jagoda then expressed her concern that, instead of conducting a proper

investigation, Board President Maggio asked her harasser himself whether he did it and to check

to the footage. In response, Board President Maggio claimed he was present when Vucetovic

reviewed the footage, but that is inconsistent with: (i) the fact that he did not know the parking

garage was empty that day (¶ 151); and (ii) the voicemail he left her on January 2 at 3:52 p.m. in

which he said: “[Vucetovic] reviewed those tapes, call me when you get a chance.”




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       170.    Next, Board President Maggio told Ms. Jagoda during their January 2, 2020 call

that Vucetovic said there was a camera on her spot in the garage. But when they reviewed the

footage during the meeting, Board President Maggio showed a very distant camera, and after Ms.

Jagoda pushed him, he showed footage from a camera that was slightly closer but not a direct shot.

       171.    At the meeting, Amicucci asked Ms. Jagoda: “What do you want?” She told him

that she wants to live without being harassed anymore. Once again, her plea fell on deaf ears.

       172.    Ms. Jagoda later learned (during a June 19, 2020 phone call with Board President

Maggio) that, when she left the meeting, the Board concluded that Vucetovic “has a hot head but

he would never do anything.” Board President Maggio then told Ms. Jagoda that the Board

dismissed CW2’s issues with Vucetovic on the grounds that she “had a vendetta with him.”

       173.    Ms. Jagoda was also told that, without her consent, her complaint was forwarded

to Vucetovic’s union – giving Vucetovic yet another reason to retaliate against her.

       174.    Later in January, Ms. Jagoda ran into Ari in the garage. He asked if she found out

who wrote “BITCH” on the column. She said no, that she has a lot of problems in the Building

and just wants to be left alone. He responded: “Let me know if you want me to give someone a

good smack.”

       175.    On March 19, 2020 at 6:46 p.m., Ms. Jagoda emailed McGraw, Jansen, and Strino:

       I hope you are staying safe and healthy during these uncertain times. I was
       sidetracked from completing my review of the parking garage footage by a bad case
       of the flu and the sudden illness and untimely passing of a family member who
       lived with my family. I plan to finish reviewing the footage in the coming days.

       I recently complained about Alex and his grandchildren’s loud presence outside my
       balcony in the Regatta courtyard around 7 in the evening, only to find Alex and his
       wife outside my balcony in the Regatta courtyard at 6:00 this evening. I assume he
       was spoken to about the first incident. Alex has quite often shown that he does not
       respect rules or boundaries, and I continue to live in fear of his whims.




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       I am e-mailing because most of the camera footage does not show the area near my
       car clearly. As an example, at one point in the footage, my neighbor walks near my
       car and his image then disappears from view because there isn’t a clear view of my
       car. I am most fearful for my safety while in the parking garage, and would feel
       more comfortable/protected if I have a parking spot that is in clear view of/close to
       a parking garage security camera. Please do let me know what can be done to
       provide me with a parking space in clear view of a camera for my protection and
       safety and peace of mind.

       176.   The following day, Jansen responded:

       I have asked [Board President Maggio] to speak to [Vucetovic] again. I have also
       asked to have your request to move parking spots put on the Agenda for the next
       meeting which is next week.

       177.   In late-March 2020, Ms. Jagoda left the Regatta to live with her parents because

residents received a notice that a Regatta resident had COVID-19.

          May – June 2020: RMR is Placed in Charge of Problems with Vucetovic,
     But Vucetovic Continues to Harass and Bully Ms. Jagoda and Violate House Rules

       178.   In late May 2020, CW2 told Ms. Jagoda that she saw Vucetovic’s daughter or

daughter-in-law with Vucetovic’s grandchild. Neither were wearing masks in the lobby in

violation of a Regatta house rule adopted to limit the spread of COVID-19. CW2 reported it but

the Board said they did not see anything of that nature in the camera footage. CW2 had also

reported that someone significantly damaged her mailbox but received the same response.

       179.   In addition, during this time, packages that had been left in front of Ms. Jagoda’s

door were taken but she had not been notified. When Ms. Jagoda inquired about her packages,

Board President Maggio informed her that Vucetovic had taken them. They were then returned.

       180.   Also in May 2020, McGraw told Ms. Jagoda that (sometime earlier than May 2020)

she had had a meeting with Board President Maggio and Woodlief, and they all agreed that

Vucetovic “plays games” with people he has a problem with and that Woodlief would be in charge

of handling problems with Vucetovic going forward.




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       181.    In early June 2020, Ms. Jagoda saw Board President Maggio. He told her there is a

safety issue in the plaza and people are not permitted to be there. In addition, he said that anyone

who is in the plaza must wear a hard hat because the Building had bricks fall down from the façade.

       182.    Board President Maggio also said about Vucetovic: “It’s hard to get someone to

follow the rules when he’s been doing what he wants for so long. Sometimes you have to …

[making a motion like he was kicking someone].”

       183.    Notably, the Board, Board President Maggio, and/or RMR are ready, willing and

able to address other issues and enforce certain alleged violations of the By-Laws and/or House

Rules. For example, CW1 received a letter and was fined when some type of liquid fell off of her

balcony. CW1 also received a letter threatening to prohibit her from having a dog if it is not

leashed. In addition, CW2 was disciplined for spilling paint on the floor of the parking garage.

Further, a woman who lives on Ms. Jagoda’s floor received a letter from the Board and/or RMR

for leaving the trash bin door in the garage open. And on another occasion, a Unit owner was

formally reprimanded by the Board and/or RMR for not wearing a mask in the common areas.

       184.    On June 11, 2020, Ms. Jagoda emailed Board President Maggio, Jansen, McGraw,

and Strino:

       I hope everyone on the Board is doing well amidst these difficult times. I’m just
       wondering what the outcome of [Board President Maggio’s] talk with Alex was
       and what the Board’s decision was about providing a parking spot closer to a
       camera on the [second] floor. I am under the understanding that the Board looks at
       Alex in a more favorable light given his help during the pandemic, but it is also
       important that the Board continue to remember and be responsive to Alex’s history
       of skirting the rules and his run ins with women and minorities in this building. I
       have attached a picture from the closed off courtyard area today.

       185.    On June 16, 2020, Woodlief emailed Ms. Jagoda and said:

       - the board will consider your request to be relocated to a space in the P1 garage
       close to a security camera at the June meeting. We will get back to you.
       - [Vucetovic] will be reminded the Plaza is closed and that no one should be there!



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       186.    On June 18, 2020, Ms. Jagoda sent the following email to Woodlief:

       I heard there’s a rule that people have to wear hard hats while in the courtyard. I
       was just sitting on my balcony at 1:20, and noticed [Vucetovic] was not wearing
       one. He put one on when he saw me, but his friend (perhaps his son) was hanging
       out there and did not wear one.
       I feel very uncomfortable when [Vucetovic] is in the courtyard. I am simply asking
       that if he must be in the courtyard that he do so without bringing his family and
       friends there. The area is closed off to Regatta residents, and the rules should apply
       to him as well.

       187.    Woodlief responded: “Thanks for the heads up I will speak with [Vucetovic].”

       188.    That same day, Board President Maggio called Ms. Jagoda and said: “I feel like

you’re awkward with me now, you don’t say hello, and you try to avoid me.” He also dismissed

her complaints: “The plaza issue is not a Regatta issue, it’s an Anjoli issue.”

       189.    Board President Maggio then asked Ms. Jagoda not to copy McGraw or Woodlief

on e-mails about Vucetovic, and that she should just send her complaints to him – despite the fact

that Woodlief was now in charge of complaints about Vucetovic (¶ 180). Ms. Jagoda responded

that in the past, she had gone to Board President Maggio for help but the harassment continued.

       190.    Board President Maggio then made it clear that Vucetovic is indispensable and said:

“What do you want me to do? Fire him and hire a Mexican who can’t speak English?”

       191.    Board President Maggio then said that “at this point” McGraw was the only one

who had an issue with Vucetovic and it was only “because of her political beliefs.”

       192.    Board President Maggio then told Ms. Jagoda that she could get an electrician to

install a camera over her parking spot. She said that she had seen Vucetovic change people’s

parking spots and didn’t understand why they couldn’t change hers for a safety issue. She told

Board President Maggio there were open parking spots that aren’t being used. He told her to send

him and Woodlief an e-mail with the parking spot numbers.




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       193.    Board President Maggio ended the call by saying “[i]t’s clear that we need to keep

you and [Vucetovic] away from each other,” which he knows is impossible.

       194.    On June 20, 2020, Board President Maggio left Ms. Jagoda a voicemail saying he

couldn’t give her any of the open parking spots because parking spot numbers were in the deeds

for owners’ units. This statement was false as Vucetovic has reassigned parking spots, the By-

Laws provide that assigned spaces are subject to change and changes can be made based on

availability, and there is a waiting list to enable unit owners to change parking spots.

       195.    On June 22, 2020 at 6:09 p.m., Ms. Jagoda was sitting on her balcony trying to

relax and enjoy an early summer evening. Vucetovic was below in the courtyard. He stared Ms.

Jagoda down, gave her nasty looks, and then gave her the middle finger. Ms. Jagoda was able to

photograph Vucetovic in the act:




       196.    Vucetovic saw Ms. Jagoda photographing him and yelled:

         “Did you get that? Send it to your mom and tell her to shove it up her ass!”


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       197.    Ten minutes later, Ms. Jagoda sent an email to Woodlief, Jansen, Strino, and

McGraw, attaching the photo and saying:

       I’ve attached a picture of [Vucetovic] flipping me off while I was sitting on
       my balcony. He said “did you get that? Send it to your mom and tell her to shove it
       up her ass.”

       Please let me know what will be done about this. This man has threatened me
       before. It’s only a matter of time before he does something that goes beyond words.

       I expect a reply by Friday, June 26 from someone on the Board who is not [Board
       President Maggio]. If not, I will pursue necessary measures to keep myself safe.

       198.    At 7:25 p.m., McGraw responded to Ms. Jagoda’s email by text message:

 “I saw your email. He is out of control …. My heart is pounding looking at that picture.”

       199.    Ms. Jagoda went to the Mamaroneck Police Department to file a report about the

incident. An officer informed her that Vucetovic “has a lot of friends in the Department” and, at

that moment, a lot of them were inside the station.

       200.    On June 24, 2020, Ms. Jagoda was sitting on her balcony at 1:35 p.m. Vucetovic

stepped out into the courtyard. After Vucetovic made eye contact with Ms. Jagoda, she got up and

went inside her apartment. As she was opening the sliding door to her apartment, Vucetovic, happy

and proud to have bullied Ms. Jagoda off of her own balcony, yelled “thank you!” and started

whistling loudly.

       201.    On June 24, 2020, Ms. Jagoda forwarded her June 22, 2020 6:19 p.m. email (¶ 197)

to Woodlief, Jansen, Strino, and McGraw and further stated the following:

       I was sitting on my balcony at 1:35 p.m. today, and [Vucetovic] came into the
       courtyard. We made eye contact and I immediately went into my apartment because
       of the numerous incidents that have occurred. While I was opening the sliding door
       to enter my apartment, he said “thank you!” and started whistling very loudly non-
       stop.




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       Today’s events lead me to believe that the Board has not taken any action, despite
       my sending a picture of a building employee using a profane gesture toward me (an
       owner in the building) and despite my informing the Board that the employee was
       speaking profanely to me. I have noticed a wall of silence from the Board after I
       requested a parking space close to a camera because I am scared for my safety.
       Since the pandemic, the only person who has reached out or responded to me from
       the Board has been [Board President Maggio]. [Board President Maggio] has
       reached out on multiple occasions since I complained about [Vucetovic’s] actions
       in January, which has made me feel uncomfortable because I have been trying to
       distance myself from his sphere of influence. I communicated this to [Board
       President Maggio] on June 19th when he called me to essentially tell me that
       Vucetovic is indispensable despite anything he does, and that my concerns are “an
       Anjoli issue.” [Board President Maggio] has conveyed this sentiment from the very
       beginning of our conversations over a year ago, and the Board’s silence leads me
       to believe that the Board agrees with [Board President Maggio].

       I am requesting that a Board member (not [Board President Maggio]) contact me
       today to inform me what action was taken to address Vucetovic’s inappropriate
       behavior on Monday. I fear for my safety now more than ever, as I feel that the
       Board - who is supposed to hold Vucetovic accountable for inappropriate
       actions - has collectively given Vucetovic a free pass to harass and intimidate
       me. [Emphasis added.]

       202.   That day, Ms. Jagoda told McGraw that she was not comfortable visiting her

parents in the evenings anymore, as it would require her to be in the garage at night when she

returned. McGraw offered to have her son accompany Ms. Jagoda at night to make her feel safe.

       203.   Ms. Jagoda also told McGraw that she trusted her but not the other members of the

Board. She asked McGraw if the Board is going to actually investigate or if, whatever they do,

will be superficial. McGraw said she hopes they’re doing it in good faith. Ms. Jagoda then told

McGraw that she does not trust Attorney Glatthaar who, according to an email Ms. Jagoda received

from the Board, would be privy to anything she submitted concerning this matter.

       204.   On June 24, 2020, Jansen emailed Ms. Jagoda, cc’ing Strino and McGraw:

       Thank you for sharing with us your concerns about the conduct of the Regatta
       Building Superintendent Mr. Alex Vucetovic and for providing details in your June
       22, 2020 email (and again today) about a number of recent incidents.




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On behalf of the Regatta Condominium Board, we wish to reassure you that the
Board is committed to maintaining a living environment that is free from
harassment of any nature, especially as a result of employees’ alleged misconduct.
As fellow Regatta owners/residents, we are sensitive to the type of events described
in your recent communication and will make all reasonable and lawful efforts
within our authority to ensure that you as any owner/resident can enjoy her property
rights without fear of harassment or retaliation.

In accordance with the Regatta’s sexual harassment policy and the Condominium
governing documents, the Board has initiated an investigation into the events
described in your June 22, 2020 email. As you will appreciate, there are important
procedures in place to safeguard the rights of all the persons involved and to
guarantee a fair investigation into those serious allegations.

Moreover, due to the potentially sensitive nature of information shared during the
upcoming fact-finding process, the Board understands that you - as the
recipient of alleged unwelcome conduct - might be reluctant to share additional
details. Thus, we encourage you to the be upfront in communicating to the Board
any objection or discomfort this process might cause you so that the Board can
propose ways to mitigate any stress or undue burden in the course of this
investigation. At the same time, please recognize that certain details will likely be
important, if not determinative, to accurately retrace the events in question.

At this time, the Board has appointed a Committee composed of three Board
members to supervise an investigation into the alleged facts, i.e. Ms. Susan Jansen
(myself), Ms. Bridget McGraw and Mr. Paolo A. Strino. Please note that these
individuals are the recipients of your June 22, 2020 email (and of today’s email),
thus we feel confident that you have no objection on their ability to inquire further
on the matter.

Note that the role of the Committee is not to take a decision on the matter, but to
report its findings of fact to the Board for any further action.

Confidentiality

We will use our best efforts to treat this matter confidentially. At the same time,
certain information will have to be shared with other individuals on a need-to-know
basis, as circumstances dictate.

Current Status and Next Steps

As an interim measure, [RMR] has already informed Mr. Vucetovic to refrain from
any interaction of any nature with you.

At this point, the Committee is hoping to obtain a more comprehensive statement
of the facts surrounding the events described in your email.



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Please let us know if you wish to participate in a telephone interview with members
of the Committee or alternatively to submit a comprehensive statement in writing.
Let us also know if you wish to name any witness available to confirm your
description of the events.

Finally, please note that:
(1) If you believe that this is a police matter, you should contact the proper
authorities without delay.
(2) If at any time you engage counsel to assist on this matter, let the Board know
and we will request the Regatta Condominium lawyer to make appropriate
arrangements for future communications.

Once the full Board has reached a decision on this matter, it will inform you of the
outcome of this process.

Please know that your safety is of utmost concern to the Board and this matter will
be handled with the attention that it deserves.

205.   On June 25, 2020, Ms. Jagoda responded to Jansen:

Thank you for taking the time to respond to my e-mail. I am wondering what the
level of confidentiality will be if I provide a written statement of the incidents that
occurred, as I will be revealing sensitive information about two members of the
Board as well ([Board President Maggio and Amicucci]). I already worry about my
safety because of the issues with [Vucetovic], and it will not help to be on the bad
side of two other individuals as well. Is it at all possible to find some way to assign
me a parking space that is in clear view of a camera in the parking garage? I have
not gone home to visit my parents in the evening since the incident with
[Vucetovic], as I am scared to be in the garage in the evening in case I run into
[Vucetovic]. Once I provide a written statement, I will be worried about running
into the other two members of the Board as well. I worry that life will become
harder for me once I provide a statement that includes everything.

206.   That evening, Jansen responded to Ms. Jagoda:

Thank you for your response.

As indicated earlier, the information will be treated confidentially and it will be
shared on a need-to-know basis only. However, at a minimum you should expect
the Board to have access to a statement of all relevant facts in order to take an
informed decision on the outstanding allegations.




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       For your comfort, in your statement, you might want to anonymize the name of
       other individuals that you do not wish to reveal, for example by referring to them
       as Board Member 1 and Board Member 2. In that case, their identities will not be
       revealed to the full Board.

       At the same time, for the avoidance of any doubt, our current fact finding efforts are
       directed into your allegations related to the Board Superintendent, in line with your
       email complaint dated June 22. Details are important and we cannot direct you on
       what to include or not include. However, we cannot regulate speech
       in private interactions between individuals in the Regatta, whether they are Board
       members or not. To reassure you, we will propose that in the future the Board
       designate a person to discuss official Regatta business with you, and I will suggest
       that that person be Bridget.

       With regard to the alternative parking accommodation, this is an ongoing request
       and outside of the scope of this investigation. Bridget and I will be in touch to
       schedule an appointment with you and the Regatta Management company to
       discuss the status of the request, our current efforts, and the available options.

       We look forward to receiving your statement.

       207.   The “Sexual Harassment Policy for the Regatta” that Jensen referenced in her June

24, 2020 email provides, among other things, the following (with emphasis added):

       [T]he Regatta is committed to ensure – within the limit of its authority – that not
       just the employees but also the Regatta community at large (Unit owners, lawful
       occupants, etc.) are free from Sexual harassment resulting from employees
       misconduct.
                                               ***
       Sexual harassment will not be tolerated. Any employee or individual covered by
       this policy who engages in sexual harassment or retaliation will be subject to
       remedial and/or disciplinary action (e.g., counseling, suspension, termination).
                                               ***
       Retaliation Prohibition: No person covered by this Policy shall be subject to adverse
       action because the employee reports an incident of sexual harassment, provides
       information, or otherwise assists in any investigation of a sexual harassment
       complaint. The Regatta will not tolerate such retaliation against anyone who, in
       good faith, reports or provides information about suspected sexual harassment. Any
       employee of The Regatta who retaliates against anyone involved in a sexual
       harassment investigation will be subjected to disciplinary action, up to and
       including termination.
                                               ***



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       Sexual harassment is offensive, is a violation of our policies, is unlawful, and may
       subject The Regatta to liability for harm to targets of sexual harassment. Harassers
       may also be individually subject to liability. Employees of every level who engage
       in sexual harassment, including managers and supervisors who engage in sexual
       harassment or who allow such behavior to continue, will be penalized for such
       misconduct.
                                              ***
       While the process may vary from case to case, investigations should be done in
       accordance with the following steps:
       Upon receipt of complaint, a designated representative of the Regatta Board of
       Managers, will conduct an immediate review of the allegations, and take any
       interim actions (e.g., instructing the respondent to refrain from communications
       with the complainant), as appropriate. If complaint is verbal, encourage the
       individual to complete the “Complaint Form” in writing. If he or she refuses,
       prepare a Complaint Form based on the verbal reporting. In the event that a
       designated representative of the Regatta Board of Managers is temporarily
       unavailable to receive such complaint, the complaint may be directed to the
       Management Company. If the allegation of sexual harassment is against the
       Management Company, the complaint may be directed to the Board’s President.

       208.    The Board’s and RMR’s well-documented apathy and inaction over the course of

years concerning Vucetovic’s sexual harassment of and retaliation against Ms. Jagoda and other

women – including their failure to enforce the Regatta’s so-called “sexual harassment policy” –

speak far louder than the hollow words in Jansen’s emails in which she, on behalf of the Board,

makes commitments that the Board knows it will never fulfill.

       209.    In the meantime, the Board, Board President Maggio, and RMR continue to act

concerning other issues (¶ 183).

       210.    For example, in a memo to Regatta owners and residents (“The Regatta

Mainsheet”) dated September 10, 2020, the Board reported, among other things:

       Pets There have been numerous incidents, some caught on video, of pets
       defecating or urinating in the common areas. In the event of a pet accident, owners
       should immediately clean the mess. Repeat offenders will face sanctions by the
       Board. Aside from being unpleasant, dealing with pet issues takes the building staff
       away from their regular duties and requires Board time. [Emphasis added.]




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       211.    Instead of acting to stop “repeat offender” Vucetovic from sexually harassing and

bullying women, the Board, Board President Maggio, and RMR focus their time and resources on

monitoring the security cameras to catch, and sanction, owners with “pet issues.”

 October 2020: Despite Jansen’s Assurance That RMR Instructed Vucetovic to Refrain from
            Interacting with Ms. Jagoda, the Harassment and Bullying Persists

       212.    On October 1, 2020, Ms. Jagoda sent an email to Woodlief, McGraw, Jansen, and

Board President Maggio reporting yet another incident with Vucetovic:

       At approximately 11:20 a.m. today, I was in the parking garage. [Vucetovic’s] car
       and my car were passing each other, and my driver’s side and his driver’s side
       aligned for approximately 5-10 seconds. While our driver’s sides were aligned and
       both of our windows were opened, [Vucetovic] stared me down in an intimidating
       fashion and said something in his native language in a tone that conveyed it was
       derogatory.

       I don’t know why [Vucetovic] continues to harass and intimidate me. This hostility,
       to which I have been subjected to in the place that I call home, has been going on
       for almost two years. Throughout that time, I have notified you of the harassment
       and intimidation and pleaded for you to instruct Alex to leave me alone, but nothing
       has changed. I ask, once again, that you do so.

       213.    To date, no one has responded to Ms. Jagoda’s email or taken any action.

       214.    As alleged above, the Board, Board President Maggio, and RMR, upon receiving

notice of Vucetovic’s and Calderon’s unlawful conduct, had, and continue to have, the power,

obligation, and duty to investigate, intervene, and take prompt and effective remedial action

concerning their employees, Vucetovic and Calderon, including, without limitation, discipline and

termination of employment, to protect Plaintiff from their unlawful conduct.

       215.    The Board’s, Board President Maggio’s, and RMR’s toleration and/or facilitation

of Vucetovic’s and Calderon’s unlawful conduct interfered, and continues to interfere, with

Plaintiff’s use and enjoyment of her home, and created a hostile housing environment in violation

of federal and state law.



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        216.    Defendants’ unlawful conduct dramatically interfered with Ms. Jagoda’s full use

and enjoyment of her home. Because of Defendants’ unlawful conduct, Ms. Jagoda has suffered

and to this day continues to suffer humiliation, embarrassment, and emotional distress, and lives

in a constant state of anxiety. She has lost sleep and can no longer sit on her balcony or leave her

apartment to do simple things – like check the mail, go to the parking garage, pharmacy or grocery

store, or enjoy the lifestyle that attracted her to the Regatta (¶¶ 9-10) – without fear of encountering

Vucetovic or Calderon. She has installed a Ring™ doorbell camera for additional security.

                                 FIRST CAUSE OF ACTION
            (Violation of Title VIII of Civil Rights Act of 1968 – Fair Housing Act)
                                        (42 U.S.C. § 3604)
                                    (Against All Defendants)

        217.    Plaintiff repeats and realleges each allegation above as if fully set forth herein.

        218.    The FHA makes it unlawful to discriminate against any person in the terms,

conditions, or privileges of sale or rental of a dwelling, or in the provision of services or facilities

in connection therewith, because of race, color, religion, sex, familial status, or national origin.

        219.    Sexual harassment is a form of sex discrimination that is prohibited by, and

actionable under, the FHA.

        220.    Plaintiff is a member of a protected group who has been subject to and endured

unlawful and discriminatory conduct based on sex, including unwelcomed sexual harassment.

        221.    The unlawful and discriminatory conduct has been so severe or pervasive as to

interfere with or deprive Plaintiff of her right to use or enjoy her home and create a hostile housing

environment in violation of her rights as protected by the FHA.

        222.    The Board, Board President Maggio, and RMR knew or should have known of the

unlawful and discriminatory conduct and took ineffectual or no action to protect Plaintiff and

thereby tolerated and facilitated the unlawful and discriminatory conduct.



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       223.     The unlawful and discriminatory conduct, and the Board’s, Board President

Maggio’s and RMR’s tolerance and/or facilitation of such conduct, demonstrate a willful and gross

disregard for Plaintiff’s known rights.

                               SECOND CAUSE OF ACTION
           (Violation of Title VIII of Civil Rights Act of 1968 – Fair Housing Act)
                                       (42 U.S.C. § 3617)
                                   (Against All Defendants)

       224.     Plaintiff repeats and realleges each allegation above as if fully set forth herein.

       225.     Plaintiff is a member of a protected group.

       226.     By their alleged conduct, Defendants coerced, intimidated, threatened, or interfered

with Plaintiff in her exercise or enjoyment of, or on account of her having exercised or enjoyed,

or on account of her having aided or encouraged any other person in the exercise or enjoyment of,

her right guaranteed by Section 3604 to use and enjoy her home free from unlawful and

discriminatory conduct based on sex, including unwelcomed sexual harassment.

       227.     In addition, Section 3617 prohibits retaliation against a person who, inter alia,

asserted her rights under the FHA or reported unlawful discriminatory housing practices.

       228.     Plaintiff engaged in protected activity by opposing prohibited conduct. Defendants

were aware of the protected activity and subsequently took adverse action against Plaintiff. There

is a causal connection between the protected activity and the adverse action.

       229.     Vucetovic’s and Calderon’s actions and the Board’s, Board President Maggio’s,

and RMR’s actions and failure to act demonstrate a willful and gross disregard for Plaintiff’s

known rights.

                                THIRD CAUSE OF ACTION
         (Violation of the N.Y.S. Human Rights Law – N.Y. Exec. Law § 296(5)-(6))
                                  (Against All Defendants)

       230.     Plaintiff repeats and realleges each allegation above as if fully set forth herein.



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        231.    Under Section 296(5)(a)(2), it is an unlawful discriminatory practice to

discriminate against any person on the basis of, inter alia, sex, in the terms, conditions or privileges

of the sale, rental or lease of any such housing accommodation or in the furnishing of facilities or

services in connection therewith.

        232.    Sexual harassment is a form of sex discrimination that is prohibited by, and

actionable under, the NYHRL.

        233.    Plaintiff is a member of a protected group who has been subject to and endured

unlawful and discriminatory conduct based on sex, including unwelcomed sexual harassment.

        234.    The unlawful and discriminatory conduct has been so severe or pervasive as to

interfere with or deprive Plaintiff of her right to use or enjoy her home and create a hostile housing

environment in violation of her rights as protected by the NYHRL.

        235.    The Board, Board President Maggio, and RMR knew or should have known of the

unlawful and discriminatory conduct and took ineffectual or no action to protect Plaintiff and

thereby tolerated and facilitated the unlawful and discriminatory conduct.

        236.    The unlawful and discriminatory conduct, and the Board’s, Board President

Maggio’s and RMR’s tolerance and/or facilitation of such conduct, demonstrate a willful and gross

disregard for Plaintiff’s known rights.

        237.    In addition, under Section 296(6), it shall be an unlawful discriminatory practice

for any person to aid, abet, incite, compel or coerce the doing of any of the acts forbidden under

the NYSHRL, or to attempt to do so.

        238.    In the alternative, Defendants aided and abetted unlawful and discriminatory

conduct on the basis of sex. The unlawful and discriminatory conduct alleged demonstrates a

willful and gross disregard for Plaintiff’s known rights.




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                              FOURTH CAUSE OF ACTION
          (Violation of the N.Y.S. Human Rights Law – N.Y. Exec. Law §§ 296(7))
                                   (Against All Defendants)

       239.     Plaintiff repeats and realleges each allegation above as if fully set forth herein.

       240.     Under Section 296(7), it shall be an unlawful discriminatory practice for any person

engaged in any activity to which the NYSHRL applies to retaliate or discriminate against any

person because she has opposed any practices forbidden under the NYSHRL or because she has

filed a complaint, testified or assisted in any proceeding under the NYSHRL.

       241.     Plaintiff engaged in protected activity by opposing prohibited conduct. Defendants

were aware of the protected activity and subsequently took adverse action against Plaintiff. There

is a causal connection between the protected activity and the adverse action.

       242.     Vucetovic’s and Calderon’s actions and the Board’s, Board President Maggio’s,

and RMR’s actions and failure to act demonstrate a willful and gross disregard for Plaintiff’s

known rights.

                                FIFTH CAUSE OF ACTION
                                 (Breach of Fiduciary Duty)
                   (Against the Board, Board President Maggio, and RMR)

       243.     Plaintiff repeats and realleges each allegation above as if fully set forth herein.

       244.     The Board, Board President Maggio, and RMR owe Plaintiff a fiduciary duty.

       245.     As alleged, the Board, Board President Maggio, and RMR breached their fiduciary

duty to Plaintiff. As a result of their breach, Plaintiff has suffered damages.

       246.     In addition, in the alternative with respect to RMR, RMR aided and abetted the

Board’s and Board President Maggio’s breach of fiduciary duty.




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       247.    RMR knowingly induced or participated in the Board’s and Board President

Maggio’s breach and provided substantial assistance to the Board and Board President Maggio.

As a result, Plaintiff has suffered damages.

                               SIXTH CAUSE OF ACTION
                (Negligent Supervision and Retention Under New York Law)
                  (Against the Board, Board President Maggio, and RMR)

       248.    Plaintiff repeats and realleges each allegation above as if fully set forth herein.

       249.    The Board, RMR, and Board President Maggio knew or should have known that

certain agents and/or employees, including Vucetovic, have a propensity to engage in the type of

misconduct alleged that caused Plaintiff to suffer injury. Thus, the Board, RMR, and Board

President Maggio had a duty to supervise such agents and/or employees.

       250.    The Board, RMR, and Board President Maggio failed to supervise certain agents

and/or employees, including Vucetovic, whom they had a duty to supervise.

       251.    The Board, RMR, and Board President Maggio further breached their duty of care

by failing to take adequate corrective measures when they were informed that Plaintiff was being

subjected to the alleged unlawful conduct by certain agents and/or employees, including

Vucetovic, whom they had a duty to supervise.

       252.    As a direct and proximate cause of the Board’s, RMR’s, and Board President

Maggio’s negligent supervision and retention, Plaintiff has suffered and continues to suffer injury.

                               SEVENTH CAUSE OF ACTION
                         (Intentional Infliction of Emotional Distress)
                                      (Against Vucetovic)

       253.    Plaintiff repeats and realleges each allegation above as if fully set forth herein.




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       254.    Vucetovic has engaged in extreme and outrageous conduct, including, inter alia, a

deliberate and malicious campaign of harassment and intimidation directed at Plaintiff, with an

intent to cause, or in disregard of a substantial probability of causing, severe emotional distress.

       255.    Vucetovic’s extreme and outrageous conduct directed at Plaintiff has caused

Plaintiff to suffer severe emotional distress.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       (a)     Enjoining Defendants from engaging in the unlawful acts and practices alleged;

       (b)     Awarding Plaintiff compensatory damages;

       (c)     Awarding Plaintiff punitive damages;

       (d)     Awarding Plaintiff’s counsel’s reasonable attorney’s fees and costs; and

       (h)     Granting such other and further relief as the Court deems appropriate.

Dated: White Plains, NY
       October 19, 2020
                                                 LACHTMAN COHEN P.C.




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